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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:05CR94
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
JUAN GARCIA,                                 )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s pro se motion to amend the

Judgment (Filing No. 439).

      In his motion, the Defendant asks the Court to reconsider its decision denying his

§ 2255 motion. The Defendant states that the Court erred in assessing the facts and the

law; however, no specific errors are alleged. The issues raised in the § 2255 motion were

carefully considered and thoroughly discussed in the Court’s previous Memorandum and

Order. (Filing No. 437.)

      IT IS ORDERED:

      1.     The Defendant’s pro se motion to amend the judgment (Filing No. 439) is

             denied; and

      2.     The Clerk is directed to mail a copy of this Order to the Defendant at his last

             known address.

      DATED this 23rd day of April, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
